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                      UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF IDAHO



 TRINA MARIE WELCH,
                                             Case No. 2:23-cv-00580-DKG
                     Plaintiff,
                                             ORDER
       v.

 KEITH SIMS and his entities; and
 KASCO OF IDAHO,

                     Defendants.


      On October 25, 2024, the Court dismissed this case without prejudice and

entered judgment against Plaintiff because Plaintiff failed to effect service of

process on any Defendant. See Memo. Dec. and Order, Dkt. 43. Plaintiff has now

filed a “Motion to Set Aside Dismissal to File Corrections to Complaint Format

and Summons.” Dkt. 45.

      Although Plaintiff does not identify the authority upon which she bases the

Motion, a party may request reconsideration of a final judgment (1) under Federal

Rule of Civil Procedure Rule 59(e), by filing a motion to alter or amend the

judgment, or (2) under Federal Rule of Civil Procedure 60(b), by filing a motion

for relief from judgment. Because Plaintiff filed the Motion within 28 days after

entry of final judgment, the Court will treat the Motion as filed under Rule 59(e).


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See American Ironworkers & Erectors, Inc. v. N. American Constr. Corp., 248

F.3d 892, 898–99 (9th Cir. 2001) (discussing ten-day deadline under former Rule

59(e)).

      Reconsideration of a final judgment under Rule 59(e) is an “extraordinary

remedy, to be used sparingly in the interests of finality and conservation of judicial

resources.” Carroll v. Nakatani, 342 F.3d 934, 945 (9th Cir. 2003) (internal

quotation marks omitted). A losing party cannot use a Rule 59(e) motion to

relitigate old matters or to raise arguments that could have been raised before the

entry of judgment. Sch. Dist. No. 1J, Multnomah Cnty. v. ACandS, Inc., 5 F.3d

1255, 1263 (9th Cir. 1993). As a result, there are four limited grounds upon which

a motion for reconsideration may be granted: (1) the motion is necessary to correct

manifest errors of fact or law; (2) the moving party presents newly discovered

evidence; (3) reconsideration is necessary to prevent manifest injustice; or (4) there

is an intervening change in the law. Turner v. Burlington N. Santa Fe R.R. Co., 338

F.3d 1058, 1063 (9th Cir. 2003).

      Plaintiff has not met her burden of showing manifest injustice or any other

basis for reconsideration under Rule 59(e). Plaintiff had many months within

which to accomplish service of process, yet she failed to do so. The Court

understands that Plaintiff is pro se and incarcerated. Plaintiff’s predicament is

unfortunate, but it is not an excuse for failing to effect proper service.



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      ACCORDINGLY, IT IS ORDERED that Plaintiff’s Motion to Set Aside

Dismissal to File Corrections to Complaint Format and Summons (Dkt. 45),

construed as a motion to alter or amend the judgment under Rule 59(e), is

DENIED.



                                        DATED: February 7, 2025


                                        _________________________
                                        Honorable Debora K. Grasham
                                        United States Magistrate Judge




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